                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                             3:13-CR-00263-RJC-DCK
 USA,                                            )
                                                 )
                Plaintiff,                       )
                                                 )
    v.                                           )          ORDER
                                                 )
 JAMES EDGAR TYLER,                              )
                                                 )
                Defendant.                       )
                                                 )

         THIS MATTER is before the Court upon the Government’s Motion to Dismiss, (Doc.

No. 274), of the Indictment, (Doc. No. 3), and the Superseding Indictment, (Doc. No. 108), as to

James Edgar Tyler, without prejudice, based on his protracted fugitive status.

         IT IS, THEREFORE, ORDERED that the Government’s motion, (Doc. No. 274), is

GRANTED and the Indictment, (Doc. No. 3), and the Superseding Indictment, (Doc. No. 108),

are DISMISSED as to James Edgar Tyler, without prejudice.

                                             Signed: May 5, 2015




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